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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )       Case No. EP-11-CR-2728-KC-1
                                                      )
ANGEL OCASIO                                          )

THIRD SUPPLEMENTAL MOTION IN LIMINE AND SUPPORTING MEMORANDUM

       ANGEL OCASIO (hereinafter “Mr. Ocasio”) is charged in several counts with offenses

related to possession, receipt and distribution of child pornography. He respectfully submits this

Third Supplemental Motion in Limine in anticipation of jury selection presently scheduled to take
place on June 21, 2013. In support thereof, he would show as follows:

I.     BACKGROUND AND PRELIMINARY MATTERS

       The present case has been the subject of two mistrials. In these prior proceedings, this Court

has ruled on numerous motions in limine. See Doc. Nos. 47, 60, 63, 66, 67 and 70. It is assumed

that this Court’s rulings with regard to these Motion in Limine remain in effect absent a request to

reconsider the same. In the event this Court considers these matters unresolved, all arguments set

forth in Mr. Ocasio’s Motion in Limine (Doc. No. 60), Supplemental Motion in Limine (Doc. No.

63), and Second Supplemental Motion in Limine (Doc. No. 67), are hereby incorporated by reference

and re-urged.

II.    GOVERNMENT’S NOTICE OF INTENT NOTICE OF INTENT TO USE
       CERTIFIED RECORDS OF REGULARLY CONDUCTED BUSINESS ACTIVITY

       In this Notice filed May 14, 2013, the Government serves notice of its intent to offer “records

from Time Warner Cable relating to customer account details and Internet Protocol (IP) assignments

for IP 24.162.195.168.” Notice at 1 (Doc. No. 130). This Notice further declares “the records will

be introduced via a written certified declaration from the custodian of record and/or an employee of

that company.” Absent production of (1) the specific document and (2) a properly issued certification

as defined by Federal Rule of Evidence 902(11), the defense would object to introduction of this

evidence.
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III.   NOTICE OF INTENT TO USE EVIDENCE BY USA AS TO ANGEL OCASIO
       PURSUANT TO FEDERAL RULE OF EVIDENCE 404(B) (DOC. NO. 131)

        This Notice (Doc. No. 131) appears substantially similar, if not identical to, the Notice

previously filed (Doc, No. 50). The defense previously moved to exclude this material, for example

child erotica, through its Motion in Limine, Mot. at 4-7 (Doc. No. 60), and this Court granted such

request. The Government’s Notice does not acknowledge this prior ruling, nor the fact that this

material was ordered redacted from the FTK Report prior to submission to the jury. If this Notice

is offered as an invitation to reconsider this Court’s prior ruling on that matter, then this Court is

respectfully asked to deny the invitation as the proposed evidence suffers from the same defects
prompting this Court’s prior Order, and no effort is made to justify a different outcome.

IV.    GOVERNMENT NOTICE OF EXPERT TESTIMONY

        The Government has, most recently, filed its document entitled “Notice of Expert and

Memorandum of Law” (Doc. No. 124). The four specific experts identified are (1) Sergeant

Matthew Pilon,1 who allegedly will “provide the jury with an overview of the how peer-to-peer

software operates and facilitates the nearly anonymous trading of digital files, files, including those

that contain images of children engaged in sexually explicit activity, via the Internet,” Mem. at 1, (2)

Computer Forensics Agent Demetrio Medina, who “will testify as to the child sexual abuse images

found on digital media belonging to defendant and the manner in which such was

discovered,” id. at 2, (3) Computer Forensics Agent Mark R. Martinez, who allegedly “will testify

as to the child sexual abuse images found on digital media belonging to defendant and the

manner in which such was discovered, id., and (4) Computer Forensics Agent Joseph Byers, who

allegedly “will testify as to the child sexual abuse images found on digital media belonging to

defendant and the manner in which such was discovered,” id. The Government alleges that Agent

Medina’s testimony is defined by an unspecified “agent’s report” and that the testimony of Agents

       1
        The prior Notice of Expert and Memorandum of Law (Doc. No. 29) filed for Sergeant Pilon
declared he “will be testifying as to factual matters and will not be asked to render an
opinion.” Notice at 2. It remains unclear how he could be characterized as a fact witness rather than
an expert witness offering an opinion divorced from the actual facts of the present case.

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Martinez and Byers is supported by a “forensic report.”

       On June 6, 2013, the defense filed its Notice of Defendant's Demand for Disclosure of

Government Expert(s) Pursuant to Federal Rule of Criminal Procedure 16(a)(1)(G) (Doc. No. 149).

The Government responded with its Notice of Government's Objections to Defendant's Demand for

Disclosure of Experts and Government's Demand for Reciprocal Discovery (Doc. No. 152). The

demand specifically sought a written summary of the testimony of all experts and identification of the

specific production it considered to support the same given the non-specific discovery references in

the Government’s notice.

       In its Objections, the Government focuses on the concept of opinions and specialized
knowledge. Such was not the primary concern in the demand, but rather the absence of a written

summary for the proposed testimony. Ultimately, the Government cites United States v. Ganier, 468

F.3d 920 (6th Cir. 2006)(holding use of forensic software is not a matter of lay testimony), in

distinguishing notices involving specialized skill rather than opinion, but overlooks the fundamental

requirement of notice when expert testimony is proposed.

       As stated in response to a Rule 16(a)(1)(G) concern raised previously in a child pornography

case involving computer forensic examinations:

       The law is clear that [t]estimony regarding law enforcement protocols and evidence
       gathering is the product of specialized knowledge, and thus, constitutes expert
       testimony under Rule 702. United States v. Oriedo, 498 F.3d 593, 603 (5th Cir.
       2007). It is also clear based on the government's response that [the agent’s] testimony
       will not be limited to what she observed in the search, but rather she will bring her
       experience as an investigator to bear on those observations and make connections for
       the jury based on her specialized knowledge. Oriedo, 498 F.3d at 603. Consequently,
       this information falls squarely within the dictates provided by Rule 16(a)(1)(G), and
       the defendant's motion shall be granted. The government is hereby ordered to provide
       to the defendant that information mandated by Rule 16(a)(1)(G) of the Federal Rules
       of Criminal Procedure. This includes a written summary of any testimony the
       government intends to use under Rules 702, 703, or 705 of the Federal Rules of
       Evidence during its case-in-chief at trial.

United States v. Owens, 2009 WL 2449822, Crim. No. 2:09CR6-DPJ-DAS, at *1 (N.D. Miss. Aug.

7, 2009).

       As the Government effectively concedes that the testimony proposed as to all witnesses


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qualifies as expert testimony, the focus becomes the sufficiency of its disclosure with regard to the

identified witnesses. In this regard, it is easily apparent that the degree of disclosure nowhere

approaches that required by Rule 16(a)(1)(G). As one district court stated in response to this

particular issue

                 Pursuant to Rule 16(a)(1)(G), at the defendant's request, the government
         must give the defendant a written summary of any testimony that the government
         intends to use under Rule 702, 703, or 705 of the Federal Rules of Evidence
         during its case-in-chief at trial. The summary “must describe the witness's opinion,
         the bases and reasons for those opinions, and the witness's qualifications.” FED . R.
         CRIM . P. 16(a)(1)(G).

                 The Advisory Notes to the 1993 Amendment explain that Rule 16(a)(1)(G)
         and the rule requiring the defendant to provide reciprocal discovery were
         “intended to minimize surprise that often results from unexpected expert
         testimony, reduce the need for continuances, and to provide the opponent with a
         fair opportunity to test the merit of the expert's testimony through focused
         cross-examination.” The Advisory Notes envision the summary as comprehensive,
         indicating that it “should cover not only written and oral reports, tests, reports, and
         investigations, but any information that might be recognized as a legitimate basis
         for an opinion under Federal Rules of Evidence 703, including opinions of other
         experts.”

                The Court has reviewed the Government's disclosure and finds that it does
         not meet the requirements of Rule 16(a)(1)(G) in that, although it describes the
         witness's opinion, it does not provide an adequate basis or reasons for such
         opinion, falling short of the demands of the rule, as clarified in the Advisory Notes.
         The expert disclosures do not provide [the defense] with a fair opportunity to test
         the merit of the expert's testimony through focused cross-examination.

United States v. Fawkes, 2005 WL 1313410, No. CRIM.2004-0172, at *1 (D.V.I. May 31,

2005).

         Fawkes correctly cites the purpose of the written summary and concludes that the

summary shall be comprehensive to permit focused cross-examination. A single line summary of

the testimony to be offered cannot possibly meet this rigorous standard. Nor is the defense

required to search for possible testimony in documents produced, as the written summary of

testimony explains and limits the proposed testimony while other discovery identifies possibilities.

Stated otherwise, the Government and defense are limited by the summaries provided whereas

discovery includes possible rather than definite topics for the same testimony limited only by rules

of evidence.

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        The only possible summary of testimony offered might be that of Sergeant Pilon by virtue

of his PowerPoint presentation. However, the origins of any of the concepts presented remains

unclear. None of the concepts presented contain references to authority, scientific or otherwise.

However, in contrast to all other expert witnesses, this provides some indication of what he may

offer as expert testimony, but still represents disclosure at a level far from the degree of specificity

required. Given the brevity of the summary provided, it remains unclear if Sergeant Pilon is

inclined to hold fast to what is in the slides or rather intends to use the PowerPoint slides as

talking points, in which case his testimony becomes far from clear.

        The remaining witnesses do not possess even that modest presentation of testimony.
Apparently, the defense shall learn what these experts did in their investigation from the witness

stand. The specifics of these investigations involving computer forensic examinations to various

degrees will be unveiled at a later date. This Court is respectfully invited to assess what is

actually known from this summary, but the defense remains at a loss as to what these individuals

may have to offer based on the information provided to date.

         It is clear that all of these remaining individuals are members of the computer forensics

division of HSI. It would appear that they would all like to discuss the specific computer forensic

examinations performed, each of varying degrees of duration and scope. No specifics as to these

examinations have been provided, and none can reasonably be inferred from the current

disclosure. The only apparent report produced is the FTK Report, and that report is largely

limited to a listing of child pornography and child erotica files with limited file details. The report

does not so much as hint as to what was searched or how these files were recovered. This Court

is respectfully asked to review this report and identify which, if any, of these files listed were

viewable without forensic software, were found in unallocated space, or were ‘carved’. If the

report lacks this basic forensic information, then it cannot be characterized as possessing any




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value with regard to explaining the examination itself.2 Testimony relying on this bare reference

to favorable findings offers no insight into processes employed in conducting the forensic

examination. Furthermore, this information is virtually unassailable on cross-examination by the

defense or defense expert because it is so vague as to be analytically useless in determining what

these files may represent to the Government’s case-in-chief. Given the sparse details provided by

the Government to date with regard to these alleged expert examinations, the defense remains

concerned that the Government’s investigation may only now commence having received the

report of expert examination produced by the defense. However, should this act of disclosure

culminate in a written summary compliant with Rule 16, and thereby limit the surprise testimony
offered by Government witnesses at trial, then it will be considered a worthwhile endeavor.3

        Ultimately, as acknowledged by the Government, these experts intend to discuss highly

technical concepts specific to forensic examinations. This is not a matter of lay opinion or basic

facts typical of the question and answer inquiry found in the typical drug importation case at a

port of entry. The testimony proposed involves advanced forensic software, specific inquiries and


        2
         For example, if all computer files identified in this report were stored on the computer and
not deleted, no forensic software would be required to produce the details in the report as one could
simply view these files using the ‘details’ view on Microsoft Windows. When undersigned counsel
raised questions as to the duplicative listings of files during the first status conference, counsel for the
Government did not offer this basic explanation as to why the files might have more than one
appearance in the report. If that occasion did not warrant an explanation, it remains unclear when
the vagaries of this report might be unveiled.
        3
         Counsel for the Government indicated in a recent hearing in another case that it may well call
Ms. Loehrs’s testimony into question under Daubert. Given the lack of information it has provided
to date with regard to its own experts and the procedures that they have employed, it may well expect
a similar approach as to all its proposed experts should this information present cause for concern.
At present, there are no details to suggest any approach, let alone a proper approach, employed by
these witnesses in conducting these alleged examinations sufficient to merit raising a Daubert
concern. Upon receipt of information provided through a proper written summary for all witnesses,
the defense may well revisit this issue. There is no presumption of competency attached to the
forensic examinations of agents, thus there should be no reason to anticipate their methodology, once
articulated, would be immune from scrutiny. Given the absence of limitations imposed on their
review of computer evidence under 18 U.S.C. § 3509, as compared to the “meaningful availability”
standard applied to private examiners, one may reasonably anticipate higher expectations in the
conduct of the examinations of federal agents. However, in this case, little can be said of the searches
or results associated with these investigations.

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formal findings. The Government has not offered, individually or in sum, disclosure that

approximates the 181-page report it now possesses from the defense. It that report, Ms. Loehrs

summarizes her precise opinions with regard to awareness, possession, and receipt/distribution,

with specific files and details supporting her opinion. The Government cannot claim that it lacks

the ability to cross-examine her intelligently with this information in hand. The same cannot be

said of the defense, as the Government remains reluctant to provide the disclosure that should

have preceded the defense’s obligation to reciprocate.

       In light of the foregoing, the defense requests that the local forensic examiners be

excluded to the extent they intend to discuss the substance of forensic examinations that have not
been described in a detailed, written summary. In the alternative, this Court is respectfully asked

to direct that the Government produce detailed written summaries that include the precise

methods employed, items of interest sought through the individual examinations, and findings

with regard to those items of interest, not later than June 21, 2013.

       With regard to Sergeant Pilon, this Court is respectfully asked to direct that additional

information be provided if he is to testify. The defense acknowledges that he may satisfy his

summary requirement by annotating the slides in his presentation with the authority for the

information provided in the individual slide, and thereafter providing an advance copy of this

presentation to the defense. PowerPoint contains a feature permitting ‘comments’ to slides

invisible to the audience when presenting, and such would be sufficient in his case when

annotating his authority. However, Sergeant Pilon must declare whether his testimony is limited

to the contents of the slides, or whether he merely uses the PowerPoint presentation as a guide for

testimony that expounds upon the slides. In the latter case, this Court is respectfully asked to

order that he provide the comprehensive written summary applicable to the other experts

identified by the Government with reference to the authority relied on in presenting whatever

topics he may choose to include.




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V.     FTK REPORT SUBMITTED TO JURY

       This Court previously ordered that non-child pornography files be redacted from the FTK

report submitted to the jury. As stated previously, the files identified in the FTK report do not

describe whether the files were viewable without forensic software. This may leave the jury with

the impression that all files identified were resident on the computer and identifiable simply by

turning the computer on. Such is not the case.

       Given the Government’s interest in offering this list of files to the jury, this Court is

respectfully asked to direct that the Government clearly annotate which files could be identified on

the computer without forensic software, and which were invisible to the computer user (i.e.,
carved or in unallocated space) without the use of forensic software. At present this computer file

list represents what Government forensic examiners ‘found’, but the absence of information

provided in conjunction with this report permits the jury to infer unreasonably that these files

would be evident to a user without specialized software.

       It is unclear why this standard report excludes information easily includable as to whether

the files were deleted and when such deletion took place. Given the length of this report and the

absence of explanatory information contained therein, the failure to include these file details has a

strong potential to mislead and confuse the jury as to what a non-expert computer user might see

on the computer. As presented, it cannot be said that the probative value of the report

substantially outweighs the prejudicial effect under Rule 403.

       In light of the foregoing, this Court is respectfully asked to exclude the FTK report in its

present form from submission to the jury as an exhibit. In the alternative, this Court is asked to

direct that all computer files that could not be seen without forensic software (1) be clearly

identified as “not viewable without use of advanced computer file retrieval software”; (2) be

identified through use of color coding system, e.g., black type for visible files, blue for deleted

files,(3) be organized under subject headings ‘viewable’ and “not viewable” or (4) be displayed

with the ‘isDeleted’ field active and the date on which the file was deleted. In so doing, the jury


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will be less likely to assume the 70 or more pages of computer files provided are simply resident

on the system in a magnitude that would be obvious to the computer user.

VI.     SERGEANT PILON’S PRESENTATION REGARDING PEER-TO-PEER
        SEARCHES

        This Court has previously ruled that Sergeant Pilon’s qualifications to discuss any topic

involved in testimony will be addressed through voir dire prior to his testimony. The defense is,

however, concerned with the content of that portion of his presentation that illustrates searches on

peer-to-peer networks. In a portion of his presentation, Sergeant Pilon apparently constructs a

hypothetical search by a child pornographer and the results returned through those searches. If
the purpose of this exercise is to demonstrate how peer-to-peer search software functions, then

this result could readily be obtained through non-pornographic search illustrations. It is

respectfully submitted that such is not the result likely intended through this illustration.

        The salacious terms and file names concocted by Sergeant Pilon for a presentation that

appears more tailored to law enforcement training than to assist a jury in understanding peer-to-

peer sharing concepts has no place in a child pornography trial in which the danger of unfair

prejudice is already extreme. Any possible probative value of this information, certainly when

offered by an expert witness if Sergeant Pilon passes muster, would be substantially outweighed

by its prejudicial impact or potential for misleading the jury. See FED . R. EVID . 403. It takes little

imagination to see how this portion of the presentation is designed to paint the picture of how the

typical child pornographer operates in order to invite a jury to characterize a defendant in the

same manner regardless of the facts, which would run afoul of the request in the first Motion in

Limine to exclude profile evidence. Furthermore, the jury may, through this presentation,

mistakenly accept this hypothetical search as a fact from the case before it, and thereby without

legitimate basis instill in the minds of jurors that the agents involved possess a greater

understanding of events with regard to a defendant than the evidence may warrant. Finally, this

presentation would add additional child pornography concepts and terms unnecessarily to a case

that will not want for the same. Given a case that will likely already fatigue the jury with shocking

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terms and phrases, there is no need to offer unnecessary additional issues to a case already rife

with prejudicial potential.

        In light of the foregoing, this Court is respectfully asked to exclude this portion of

Sergeant Pilon’s presentation or direct that it be revised to address non-pornographic illustrations

of searches.

VII.    REQUESTED RELIEF AND PROCEDURAL MATTERS

        Defendant prays that this Court order the Government and its witnesses not to allude to

any of the above matter without first obtaining the Court's ruling as to admissibility outside the

hearing of the jury; and that the Court will exclude such evidence at trial.
                                               MAUREEN SCOTT FRANCO
                                               Federal Public Defender

                                                /s/

                                               MICHAEL GORMAN
                                               Assistant Federal Public Defender
                                               Federal Building
                                               700 E. San Antonio, D-401
                                               El Paso, Texas 79901
                                                (915) 534-6525
                                               Attorney for Defendant




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 12th day of June, 2013, I electronically filed the foregoing
with the Clerk of Court using CM/ECF system which will send notification of such filing to the
following:

J. Brandy Gardes
Assistant U. S. Attorney
700 E. San Antonio, Suite 200
El Paso, Texas 79901



                                                /s
                                         ____________________________________
                                         Michael Gorman
                                         Attorney for Defendant




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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                    EL PASO DIVISION

UNITED STATES OF AMERICA                                )
                                                        )
v.                                                      )       Case No. EP-11-CR-2728-KC-1
                                                        )
ANGEL OCASIO                                            )


                                                  ORDER

        On this date came on to be heard Defendant’s Motion in Limine. After considering the

same, the Court enters the following Order:
        Defendant's Motion in Limine is GRANTED as to the following matters:

1.      certified records of business activity;

2.      evidence or argument concerning child erotica;

3.      the Government’s expert testimony;

4.      the FTK report; and

5.      that portion of Sergeant Matthew Pilon’s testimony concerning illustrations of peer-to-

        peer searches;

        It is ORDERED that the Government shall not introduce, allude to or argue any of the

above before the jury until it has first approached the bench and obtained the Court’s ruling on the

admissibility of such matters.

     It is further ORDERED that the Government shall instruct its witnesses that they are subject

to the terms of this Order and are similarly not to allude to or go into such matters until the Court

has ruled on their admissibility, outside the presence of the jury.

     ORDERED and ENTERED on this the                        day of June, 2013.




                                                  KATHLEEN CARDONE
                                                  UNITED STATE DISTRICT JUDGE
